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 April 20, 2021                                                                                           Via ECF

 The Honorable Karen L. Stevenson
 United States Magistrate Judge
 U.S. District Court for the Central District of California
 Roybal Federal Building and Courthouse Courtroom 580
 255 E. Temple Street
 Los Angeles, CA, 90012

 Re:     In re Application of Shervin Pishevar for an Order to Take Discovery for Use in Foreign
         Proceedings Pursuant to 28 U.S.C. § 1782, 2:21-mc-00175-JAK-KS

 Dear Judge Stevenson:

         We are counsel to the Petitioner Shervin Pishevar in the above-captioned matter. We write
 on behalf of the Petitioner to provide an update in the related proceeding in the Southern District
 of New York referred to in the Petitioner’s filings in support of the Section 1782 Application that
 is currently pending before this Court.

        The Petitioner previously mentioned in his filings in this matter that a related proceeding,
 In re Shervin Pishevar, 1:19-MC-00503-JGK-SDA (S.D.N.Y.) (“S.D.N.Y. Action”), is pending
 before Judge John G. Koeltl at the Southern District of New York with an oral argument on the
 Objections by Marcus Baram, the respondent in that proceeding, adjourned until April 22, 2021
 pending Petitioner’s investigation of new information, including through the Section 1782
 Application here. See ECF No. 1-1 at 14; ECF No. 2 ¶ 15; ECF No. 7 at 2.

         On April 9, 2021, in the S.D.N.Y. Action and in response to Judge Koeltl’s request for a
 status update, Petitioner, along with Mr. Baram, filed a status update letter informing Judge Koeltl
 that Petitioner is awaiting decision from this Court in the present matter, and requested a further
 adjournment of the oral argument previously scheduled for April 22, 2021 pending Petitioner’s
 investigation, including in the present matter, and any follow up from the information that
 Respondent Sam Anson may be able to provide. See S.D.N.Y. Action, Dkt. Nos. 107, 108. On
 April 15, 2021, Judge Koeltl granted the request, and adjourned the oral argument until June 14,
 2021. See S.D.N.Y. Action, Dkt. No. 109.




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        We remain available to address any questions the Court may have on Petitioner’s
 Application.

       We appreciate Your Honor’s assistance in this matter.

                                                       Respectfully,

                                                       /s/ Lucas V. M. Bento

                                                       Lucas V. M. Bento




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